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           EXHIBIT 2
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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION



  JESSICA JONES, MICHELLE VELOTTA,                    &DVH1R-FY--6+/-cgc
  and CHRISTINA LORENZEN on Behalf of
  ๠HPVHOYHVDQG$OO2WKHUV6LPLODUO\6LWXDWHG

                     3ODLQWL൵V

  Y

  VARSITY BRANDS, LLC; VARSITY
  SPIRIT, LLC; VARSITY SPIRIT FASHION
  & SUPPLIES, LLC; U.S. ALL STAR                      JURY DEMAND
  FEDERATION, INC.; JEFF WEBB;
  CHARLESBANK CAPITAL PARTNERS
  LLC; and BAIN CAPITAL PRIVATE
  EQUITY,

                     'HIHQGDQWV


       DECLARATION OF RONNIE S. SPIEGEL IN SUPPORT OF PLAINITFFS’ JOINT
                  MOTION TO MODIFY SCHEDULING ORDERS


          I, 5RQQLH66SLHJHOGHFODUH

               ,DPDQDWWRUQH\OLFHQVHGLQWKH6WDWHRI:DVKLQJWRQ DQGDGPLWWHGWRSUDFWLFHLQ

  WKH:HVWHUQ'LVWULFWRI7HQQHVVHHpro hac vice,DPD3DUWQHUDW๠H-RVHSK6DYHUL/DZ)LUP

  //3 ³-6/)´ DQGDPFRXQVHOIRUWKHLQGLUHFWSXUFKDVHUSODLQWL൵VLQWKHDERYH-FDSWLRQHGDFWLRQ

   ³Jones´ RU³Jones 3ODLQWL൵V´ ,KDYHZRUNHGRQWKLVDFWLRQVLQFH,MRLQHG-6/)LQ-XQHI

  KDYHSHUVRQDONQRZOHGJHRIWKHIDFWVVHWIRUWKKHUHLQDQGLIFDOOHGDVDZLWQHVVFRXOGDQGZRXOG

  WHVWLI\FRPSHWHQWO\WRWKHP

               ๠LV'HFODUDWLRQLVVXEPLWWHGLQVXSSRUWRI3ODLQWL൵V¶ -RLQW0RWLRQWo 0RGLI\

  6FKHGXOLQJ2UGHUVVXEPLWWHGKHUHZLWK
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                 ๠LVDFWLRQLVFRRUGLQDWHGZLWKWZRUHODWHGDFWLRQVFusion Elite All Stars, et al. v.

  Varsity Brands, LLC, et al., &DVH1R-FY--6+/-WPS :'7HQQ  ³Fusion Elite´ DQG

  American Spirit and Cheer Essentials, Inc. et al. v. Varsity Brands, LLC, &DVH1R-FY--

  6+/-WPS :'7HQQ  ³American Spirit´  WRJHWKHU³5HODWHG$FWLRQV´ (DFKFDVHLVODUJHDQG

  FRPSOH[, ZLWKPDQ\UHYROYLQJLVVXHVSDUWLHVDQGFODLPVJones LQYROYHVVWDWHDQGIHGHUDO

  anWLWUXVWFODLPVEURXJKWRQEHKDOIRILQGLUHFWSXUFKDVHUV SDUHQWVDQGIDPLOLHVRIDWKOHWHVZKR

  SDUWLFLSDWHLQWKHVSRUWRIFRPSHWLWLYHFKHHUWKURXJKJ\PVDQGVFKRROV ๠H-RQHVFODLPVUHODWH

  WRERWK$OO6WDUFKHHUDQGVFKRROFKHHULQHDFKRIWKUHHUHOHYDQWPDUNHWV– FRPSHWLWLRQVFDPSV

  DQGVFKRROV :KLOHWKHUHLVVRPHRYHUODSEHWZHHQWKHFODLPVDQGSDUWLHVLQJones DQGWKH5HODWHG

  $FWLRQVWKHUHDUHPDQ\GL൵HUHQFHVDQGHDFKFDVHPXVWPDNHDVKRZLQJDVWRLWVRZQEXUGHQVRI

  SURRI

                 ,Q0DUFKDQG$SULO, Jones 3ODLQWL൵VVHUYHG'HIHQGDQWVLQJones 1 ZLWK

  D¿UVWVHWRIUHTXHVWVIRUSURGXFWLRQRI ³5)3V´ IRFXVLQJRQWKHFODLPVSDUWLFXODUWRJones and

  VHHNLQJWRVXSSOHPHQWZKDWKDGEHHQVRXJKWLQFusion Elite$IWHUPDQ\PRQWKVRIQHJRWLDWLRQV

  FRUUHVSRQGHQFHDQGJRRGIDLWKDWWHPSWVWRFRPHWRDJUHHPHQWWKHSURGXFWLRQRIUHVSRQVLYH

  GRFXPHQWVKDVEHHQPHDJHUZLWKPRVWVWLOORXWVWDQGLQJ

                 2Q6HSWHPEHUJones 3ODLQWL൵V¿OHGPRWLRQVWRFRPSHODJDLQVW

  'HIHQGDQWV9DUVLW\&KDUOHVEDQN%DLQDQG-H൵:HEE1R-FY-'NWVWKURXJK 

  ๠HPRWLRQVWRFRPSHODJDLQVW&KDUOHVEDQN%DLQDQG:HEEDUHVWLOOSHQGLQJDQGWKHLWHPVWKDW

  UHPDLQLQGLVSXWHDUHVFKHGXOHGIRUKHDULQJE\WKH&RXUWRQ1RYHPEHU1R-FY-



  1
   'HIHQGDQWVLQJones LQFOXGH9DUVLW\%UDQGV//&9DUVLW\6SLULW//&9DUVLW\6SLULW)DVKLRQ
   6XSSOLHV//& FROOHFWLYHO\³9DUVLW\´ 86$OO6WDU)HGHUDWLRQ ³86$6)´ -H൵:HEE
  &KDUOHVEDQN&DSLWDO3DUWQHUV//& ³&KDUOHVEDQN´ DQG%DLQ&DSLWDO3ULYDWH(TXLW\ ³%DLQ´ 
  
      $OOGRFNHWQXPEHUVUHIHUHQFHGKHUHLQUHODWHWRJonesXQOHVVRWKHUZLVHQRWHG
Case 2:20-cv-02892-SHL-tmp Document 163-3 Filed 11/18/21 Page 4 of 9                      PageID 2643




  'NW'RFXPHQWUHTXHVWVUHODWHGWRVFKRROFRPSHWLWLRQV$OO6WDUDQGVFKRROFDPSV

  DQGVFKRRODSSDUHODVZHOODVRWKHUJones-VSHFL¿FWRSLFVKDYHQRW\HWEHHQUHVROYHG)RU

  &KDUOHVEDQNDQG%DLQFHUWDLQUHTXHVWVFXVWRGLDQVVHDUFKWHUPVDQGWKHWLPHSHULRGIRU

  SURGXFWLRQVWLOOUHPDLQLQGLVSXWH(YHQDVVXPLQJDTXLFNUXOLQJ RQWKHSHQGLQJPRWLRQVWR

  FRPSHO, LQSUDFWLFDOWHUPV, LWZLOOOLNHO\EHVRPHWLPHEHIRUHSURGXFWLRQLVUHFHLYHGDQGEHIRUH

  Jones 3ODLQWL൵VDQGWKHLUH[SHUWVZLOOEHDEOHWRUHYLHZDQGDQDO\]HDQ\VXFKSURGXFWLRQV

               :KLOH-H൵:HEEKDVSURGXFHGVRPHGRFXPHQWVLQFusion Elite, WRGDWH0U

  :HEEKDVPDGHRQO\DYHU\OLPLWHGSURGXFWLRQLQJones:KLOHRWKHULWHPVKDYHEHHQDJUHHGWKH

  UHOHYDQWWLPHSHULRGIRUVHDUFKDQGSURGXFWLRQRI0U:HEE¶VGRFXPHQWVUHPDLQVSHQGLQJZLWK

  KHDULQJRQWKLVLWHPVHWIRU1RYHPEHU'NW6HDUFKWHUPVDUHVWLOOEHLQJ¿QHVVHG

  EHWZHHQWKHSDUWLHVDQGSURGXFWLRQZLOOGHSHQGRQWKHUXOLQJE\WKH&RXUWRQWKHDSSURSULDWH

  WLPH SHULRGWREHVHDUFKHG

               5HJDUGLQJ'HIHQGDQWV%DLQDQG&KDUOHVEDQNOLWWOHWRQRVXEVWDQWLYHSURGXFWLRQ

  KDV\HWRFFXUUHGLQJones RQSHQGLQJ5)3V&RXQVHOIRU%DLQDQG&KDUOHVEDQNKDVLQGLFDWHGWKDW

  WKH\GRQRWZLVKWRQHJRWLDWHRUGLVFXVVSURGXFWLRQ IXUWKHUDWWKLVWLPHPDLQWDLQLQJWKDWWKH\

  EHOLHYHWKDW&KDUOHVEDQNDQG%DLQZLOOEHGLVPLVVHGLQJones๠LVZLOOOLNHO\UHVXOWLQDGGLWLRQDO

  GHOD\LQREWDLQLQJVXFKGLVFRYHU\IURPWKRVHSDUWLHV

               ,WLVDOVRFRQWHPSODWHGWKDWJones 3ODLQWL൵VZLOOQHHGWRVHUYHDVHFRQGVHWRI

  UHTXHVWVIRUSURGXFWLRQWRDGGUHVVLVVXHVWKDWPD\DULVHZKHQJones 3ODLQWL൵VKDYHhad an

  RSSRUWXQLW\WRUHYLHZ'HIHQGDQWV¶SURGXFWLRQVRUDVIROORZXSWRGHSRVLWLRQV/LNHZLVH

  3ODLQWL൵VZLOOOLNHO\ZLVKWRVHUYHLQWHUURJDWRULHVRQFH GLVFRYHU\FDQLQIRUPZKDWDUHDVRI

  LQIRUPDWLRQZLOOQHHGWREHUHTXHVWHG
Case 2:20-cv-02892-SHL-tmp Document 163-3 Filed 11/18/21 Page 5 of 9                       PageID 2644




                ๠LUGSDUW\DQGQRQ-SDUW\GLVFRYHU\LVDOVRYHU\LPSRUWDQWLQJones$VLQGLUHFW

  SXUFKDVHUSODLQWL൵VJones 3ODLQWL൵VPXVWQRWRQO\VKRZWKDWWKHUHZDVDQLQLWLDOLOOHJDO

  RYHUFKDUJHLQHDFKPDUNHWDOOHJHG LHDQLOOHJDORYHUFKDUJHIURP9DUVLW\WRJ\PVDQGVFKRROV

  LQHDFKPDUNHW EXWDOVRWKDWWKRVHRYHUFKDUJHVZHUHSDVVHGWKURXJKWRJones 3ODLQWL൵V LH

  J\PVDQGVFKRROVSDVVHGWKURXJKWKHRYHUFKDUJHWRSDUHQWV DQGIDPLOLHV RIDWKOHWHV 'DWDLVWKH

  SULPDU\ZD\LQZKLFKWKRVHRYHUFKDUJHVDQGWKHSDVVRQRIWKRVHRYHUFKDUJHVDUHDVVHVVHGE\

  H[SHUWVLQDQWLWUXVWFODVVDFWLRQV:KLOHVRPHGDWDKDVEHHQSURGXFHGLQFusion Elite DVWR$OO

  6WDUFKHHUFRPSHWLWLRQVDQG$OO6WDUFKHHUDQGVFKRRODSSDUHOWUDQVDFWLRQDOGDWDUHODWHGWR

  VFKRROFRPSHWLWLRQV$OO6WDUFKHHUFDPSVDQGVFKRROFDPSVDQGUHEDWHVDQGSULFHGDWDUHODWHG

  WRWKRVHPDUNHWVUHPDLQVWREHSURGXFHG 3ODLQWL൵V¶H[SHUWVZLOODOVRFRQVLGHUGRFXPHQWVDQG

  WHVWLPRQ\DQGGDWDIURP'HIHQGDQWVDQGWKLUGSDUWLHVWRDVVHVVHDFKPDUNHWLWVVFRSHDQGOLNHO\

  FRPSDULVRQPDUNHWVRU³EHQFKPDUNV´

               Jones 3ODLQWL൵V¶H[SHUWVKDYHVWDWHGWKDWRSWLPDOO\WKH\ZLOOQHHGDPLQLPXPRI

  VL[PRQWKVIURPWKHUHFHLSWRIXVDEOHWUDQVDFWLRQDOGDWDWRZRUNZLWKWKDWGDWDZLWKWKHDPRXQW

  RIWLPHGHSHQGLQJRQWKHYROXPHDQGTXDOLW\RIWKHGDWDDQGWKHGHJUHHRIUHVSRQVLYHQHVVIURP

  'HIHQGDQWVDQGWKHWKLUGSDUWLHVIURPZKRPGDWDLV VRXJKWJones¶H[SHUWVKDYHÀHVKHGRXWWKH

  XVXDOVWHSVIURPWKHWLPHGDWDDQGGRFXPHQWVDUHUHFHLYHGXQWLOD¿QDOH[SHUWUHSRUWFDQEH

  SUHSDUHG$QDO\VLVRISURGXFHGGDWDLQDQWLWUXVWDFWLRQVW\SLFDOO\IROORZVDVLPLODUSDWWHUQ

               D 'DWDLVUHFHLYHGDQGXSORDGHGWRH[SHUWV¶V\VWHP 2QFHGDWDLVSURGXFHGLWQHHGV
                  WREHORDGHGLQWRWKHH[SHUWV¶V\VWHPV๠HEDVLFXSORDGSURFHVVVRPHWLPHVIDLOV
                  GXHWRFRUUXSWHG¿OHVHQFU\SWHG¿OHVRURWKHUKDUGGULYHRUKDUGZDUHHUURUV
                  UHTXLULQJDGGLWLRQDOWLPHWRVROYH WKHXSORDGIDLOXUHLVVXHV

               E 'DWD¿OHVPXVWEHORDGHGLQWRVWDWLVWLFDOVRIWZDUH 2QFHWKHGDWDLVORDGHGLWWDNHV
                  DGGLWLRQDOWLPHWRORDGWKHGDWD¿OHVLQWRVWDWLVWLFDOVRIWZDUH VRWKDWWKHGDWDVHW
                  FDQEHDQDO\]HG ,QVRPHLQVWDQFHVWKHGDWDLVSURYLGHGDVPXOWLSOH([FHOFVY
                  RURWKHUGHOLPLWHGWH[W¿OHV๠HEXLOGSURFHVVVRPHWLPHVIDLOVGXHWRGHOLPLWHU
                  HUURUVGXULQJGDWD¿OHFUHDWLRQ:KLOHH[SHUWVKDYHGHYHORSHGPHWKRGVWR
                  PLQLPL]HWKHVHHUURUVGDWDSURYLGHUVGRQRWDOZD\VIROORZVXFKUHTXHVWV,
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              W\SLFDOO\UHVXOWLQJLQSRRUO\GHOLPLWHG¿OHVWKDWZLOOQRWORDGFRUUHFWO\6RPHWLPHV
              H[SHUWVFDQUHVROYHWKHVHSUREOHPVLQ-KRXVHEXWIUHTXHQWO\GDWDSURYLGHUVDUH
              DVNHGWRSURGXFHUHSODFHPHQWGDWD¿OHVDSURFHVVZKLFKFDQWDNHZHHNVRUHYHQ
              PRQWKV$QRWKHUFRPPRQLVVXH LVWKDWGDWDLVVRPHWLPHVUHFHLYHGZLWKDVHULHVRI
              WH[W¿OHVWKDWFRPSULVHWKHGL൵HUHQWWDEOHVLQDUHODWLRQDOGDWDEDVH'DWDSURYLGHUV
              IUHTXHQWO\IDLOWRSURYLGHDGHTXDWHGRFXPHQWDWLRQWRDOORZH[SHUWVWRSURSHUO\
              OLQNWKHYDULRXVWDEOHVWRFUHDWHWKHVDPHUHODWLRQVKLSVWKDWH[LVWLQWKHGDWDRQ
              WKHLURULJLQDOV\VWHPVDJDLQUHTXLULQJWKHH[SHUWVWRUHTXHVWDGGLWLRQDO
              LQIRUPDWLRQWRSURFHHG

           F 3UHOLPLQDU\H[DPLQDWLRQRIWKHGDWDVHWEHJLQV $SUHOLPLQDU\H[DPLQDWLRQIRU
              FRPSOHWHQHVVLVPDGH HJDVVHVVPHQWRI\HDUVRIFRYHUDJHSLQSRLQWLQJJDSVLQ
              WLPHRUJHRJUDSKLFFRYHUDJHPLVVLQJNH\HFRQRPLFYDULDEOHVDVVHVVLQJ¿HOGV
              SURYLGHG 'HSHQGLQJRQWKHTXDOLW\RIGRFXPHQWDWLRQSURYLGHGZLWKWKHGDWDDQG
              WKHPDQQHULQZKLFKWKHGDWDDUHSURYLGHGWKLVSURFHVVRIWHQUHTXLUHVUHWXUQLQJWR
              WKHGDWDSURYLGHUIRUHLWKHUPRUHLQIRUPDWLRQDERXWWKHGDWDRUIRUDGGLWLRQDORU
              DOWHUQDWLYHGDWD

           G 5HYLHZDQGXQGHUVWDQGLQJRIGDWD ([SHUWVEHJLQUHYLHZLQJWKHGDWDDQGEHJLQWR
              XQGHUVWDQGLW$WWKLV VWDJHH[SHUWVDVVHVVVXFKLWHPVDVZKHWKHUSURGXFWVDQG
              FXVWRPHUVFDQEHLGHQWL¿HGDQGZKHWKHUWKHGDWDDUHUDZRUDJJUHJDWHG([SHUWV
              DOVRDVVHVVZKHWKHUWKH\KDYHWKHLQIRUPDWLRQQHHGHGWROLQNWKHGDWDWRGDWDIURP
              RWKHUVRXUFHV([SHUWVDOVRQHHGWLPHWRDVVHVVWKHYDULRXV¿HOGVLQWKHGDWDDQG
              EHJLQWRLGHQWLI\ZKLFK¿HOGVUHODWHWRSRWHQWLDOO\UHOHYDQWDWWULEXWHVRIWKH
              SDUWLFXODUWUDQVDFWLRQV([SHUWVDOVRQHHGWRGHWHUPLQHZKLFK¿HOGVFRQWDLQFRGHG
              YDOXHVRUKDYHRWKHULVVXHVWKDWUHTXLUHVSHFL¿FDGGLWLRQDOLQIRUPDWLRQIURPWKH
              GDWDSURYLGHU

           H 4XHVWLRQVDERXWGDWD 7\SLFDOO\H[SHUWVSURGXFHDVLJQL¿FDQWDQGGHWDLOHGVHWRI
              TXHVWLRQVDERXWWKHGDWDWREHVXEPLWWHGEDFNWRWKHGDWDSURYLGHU๠HWLPHSHULRG
              IURPVXEPLWWLQJWKH¿UVWURXQGRITXHVWLRQVWRWKHGDWDSURYLGHUWRUHFHLYLQJ
              DQVZHUVYDULHVDVGRHVWKHTXDOLW\RIWKHDQVZHUV$WWLPHVZURQJDQVZHUVKDYH
              EHHQUHFHLYHGDQGIXUWKHUGHOD\HQVXHV6RPHWLPHVH[SHUWVDUHDEOHWRFRQWLQXH
              ZRUNLQJZKLOHTXHVWLRQVDERXWWKHGDWDVHWDUHSHQGLQJ+RZHYHULQVRPHFDVHV
              ZRUNRQWKHGDWDVHWPXVWKDOWSHQGLQJDQVZHUVWRLQLWLDOTXHVWLRQVRUUHSODFHPHQW
              GDWD

           I 6HFRQGURXQGRITXHVWLRQV $IWHULQLWLDOZRUNLVGRQHWKHUHcan be DVHFRQGURXQG
              RITXHVWLRQVVHQWWRWKHGDWDSURYLGHU6HFRQGURXQGTXHVWLRQVWHQGWREHPRUH
              IRFXVHG๠HUHFDQEHGHOD\VRIXQFHUWDLQOHQJWKZDLWLQJIRUDQVZHUVWRVHFRQG
              URXQGTXHVWLRQV

           J :RUNEHJLQVWRFRPELQHGLYHUVHGDWD 2QFHDSUHOLPLQDU\OHYHORIXQGHUVWDQGLQJ
              LVGHYHORSHGZRUNFDQEHJLQRQSODQQLQJIRUFRPELQLQJGLYHUVHGDWDWKDWZLOOEH
              QHHGHGIRUPRGHOLQJ([SHUWVZLOOQHHGWROLQNYDULRXV¿OHVIRUDQDO\VLV
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               K &OHDQLQJWKHGDWD 2QFHWKHGDWDDUHVX൶FLHQWO\XQGHUVWRRGH[SHUWVEHJLQ
                  FOHDQLQJWKHGDWDDQGFRPELQLQJWKHGLYHUVHGDWDVRXUFHVLQWRDVLQJOHGDWDVHWIRU
                  DQDO\VLV

               L 0RGHOLQJDQGDQDO\VLVEHJLQV :LWKWKHFRPELQHGGDWDVHWPRGHOLQJDQGDQDO\VLV
                  FDQEHJLQ,WLVRQO\DWWKLVSRLQWWKDWLPSRUWDQWPRGHOLQJGHFLVLRQVFDQEHPDGH
                  ๠LVLVEHFDXVHPRGHOLQJFKRLFHVGHSHQGRQ  ZKDWUHOLDEOHLQIRUPDWLRQLV
                  DFWXDOO\DYDLODEOHLQWKHGDWD  FRPSOHWHQHVVRILQIRUPDWLRQ  KRZWRDFFRXQW
                  IRUGDWDOLPLWDWLRQVDQG  WKHVWUXFWXUHRIWKHHFRQRPLFUHODWLRQVKLSVUHYHDOHG
                  E\WKHGDWD$GGLWLRQDOO\DVWKHGDWDEHFRPHEHWWHUXQGHUVWRRGWKHPRGHOLQJLV
                  UH¿QHG๠LVLVDQLWHUDWLYHSURFHVV

               M :ULWLQJWKHUHSRUW :ULWLQJDQG¿QDOL]LQJDQH[SHUWUHSRUWWDNHVWLPHDVZHOO๠H
                  WLPHHVWLPDWHGWRSURGXFHDUHSRUWDIWHUDOOPRGHOLQJLVGRQHLVDSSUR[LPDWHO\RQH
                  PRQWK

               $WWKHWLPHRIWKLV¿OLQJJones 3ODLQWL൵VKDd VHUYHG RUDWWHPSWHGWRVHUYH 

  DSSUR[LPDWHO\ VXESRHQDVRQJ\PV ZLWKDSSUR[LPDWHO\ PRUHWREHVHUYHG 'HVSLWHEHVW

  H൵RUWVWKHSURFHVVVHUYHUKDVRQO\FRQ¿UPHGDVVHUYHGZLWKUHTXLUHGSURRIRIVHUYLFH๠H

  VXESRHQDVVSHFL¿FDOO\VHHNGDWDUHODWHGWRWKHSDVVRQRIWKHDOOHJHGLOOHJDORYHUFKDUJHVIURP

  J\PVWRDWKOHWHV DQGWKHLUSDUHQWV 3ODLQWL൵VH[SHFWWRVHUYHDWRWDORIDSSUR[LPDWHO\$OO6WDU

  *\PVZLWKVXESRHQDV*\PVDUHRIWHQVPDOOHUEXVLQHVVHVDQGPD\EHXQIDPLOLDUZLWKWKH

  VXESRHQDSURFHVV6RPHUHTXLUH DQH[WHQVLYHOHYHORIRXWUHDFKDQGIROORZXS6XFKIROORZXS

  PD\LQYROYHSKRQHFDOOVUHTXHVWLQJVDPSOHGDWDDQGPHHWDQGFRQIHURQWKHVWUXFWXUHDQG¿HOGV

  RIKRZWKHGDWDZLOOEHSURGXFHG6RPHJ\PVKDYHEHHQKDUGWRORFDWHDVPDQ\DUHVPDOOHU

  EXVLQHVVHVZLWKDGGUHVVHVDQGFRUSRUDWHDJHQWV ZKRDUHQRWHDVLO\IRXQG6RPHRIWKHJ\PVZKR

  KDYHEHHQVXFFHVVIXOO\VHUYHGZLWKVXESRHQDVKDYHDOUHDG\DVNHGIRUH[WHQVLRQV6RPHJ\PV

  KDYHLQGLFDWHGWKDWWKH\GRQRWKDYHWKHGDWDVRXJKWLQDIRUPWKDWLWHDVLO\SURGXFHGDQGJones

  3ODLQWL൵VDQWLFLSDWHVXEVWDQWLDOGHOD\LQUHFHLYLQJWKHGDWDVRXJKW3ODLQWL൵VDOVRH[SHFWWKDWVRPH

  J\PVPD\FKDOOHQJHWKHVXESRHQDVFUHDWLQJWKHSRVVLELOLW\RIH[WHQVLYHGHOD\Jones 3ODLQWL൵V

  DOVRSODQWRVHUYHVXESRHQDVRQVFKRROVVHHNLQJVLPLODUGRZQVWUHDPGDWDDVWRJ\PVEXWKRSHWR

  ¿UVWUHFHLYHWKHVWUXFWXUHGGDWD IURP9DUVLW\UHODWHGWRVFKRROVVRXJKWLQJones WRORFDWHWKH
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  FRUUHFWVXESRHQDUHFLSLHQWV IRUWKHSDVVRQOHYHORIGDWD6XFKVWUXFWXUHGGDWDUHODWHGWRVFKRROV

  KDVQRW\HWEHHQSURGXFHGE\9DUVLW\DOWKRXJKSURGXFWLRQZDVUHFHQWO\DJUHHG2QFHWKHGDWDLV

  SURGXFHGE\9DUVLW\WKHUHPD\EHTXHVWLRQVUHODWHGWRLWVFRPSOHWHQHVV¿HOGVRUHYHQMXVW

  JOLWFKHVLQDFFHVVLQJWKHGDWDWKDWPD\QHHGWREHLURQHGRXW

              3ULRUWR 2FWREHUJones 3ODLQWL൵VFRPSOHWHGWKHLUSURGXFWLRQVWR

  'HIHQGDQWVIRUDOOWKUee QDPHGSODLQWL൵VDQGGHSRVLWLRQVDUHQRZVFKHGXOHGRUEHLQJVFKHGXOHG

  IRUJones 3ODLQWL൵V

              2Q1RYHPEHU, LQDQWLFLSDWLRQRIXSFRPLQJGHSRVLWLRQVJones 3ODLQWL൵V

  VHQWDSURSRVHGDGHSRVLWLRQSURWRFROWR'HIHQGDQWVLQJonesVHHNLQJDVWLSXODWLRQWRGH¿QHWKH

  WRWDOQXPEHURIGHSRVLWLRQVLQJonesDQGWKHSURWRFROIRUKRZWRDGGUHVVDQ\GHSRVLWLRQV¿UVW

  QRWLFHGLQJones'HIHQGDQWVKDYHQRW\HWUHVSRQGHGJones 3ODLQWL൵VKDYHSURSRVHGDQ

  DGGLWLRQDOGHSRVLWLRQV EH\RQGWKHDOORZHGIRULQ Fusion Elite, 'NW WRFRYHUWKH

  DGGLWLRQDOGHIHQGDQWVLQJones 'HIHQGDQWV-H൵:HEE&KDUOHVEDQNDQG%DLQ 'HIHQGDQWVKDYH

  QRW\HWUHVSRQGHGWRWKDWSURSRVDO

              $VOHDGFRXQVHOLQIn re Capacitors Antitrust Litigation1R-FY--JD

   1'&DO -RVHSK6DYHULWKHIRXQGHURI-6/)DQGWKHOHDGDWWRUQH\DOVRLQJonesLVVHWWR

  EHJLQDPXOWL-ZHHNWULDORQ1RYHPEHU๠HWULDOKDGRULJLQDOO\EHHQVHWIRU0DUFK

  EXWFDPHWRDVXGGHQKDOWDVDUHVXOWRIWKHSDQGHPLFId. DW'NWV-๠H

  WULDO ZDVHYHQWXDOO\WHUPLQDWHGDQGWKHUHWULDOZDVVHWRQ-XQHHLJKWPRQWKVDIWHUWKH

  VFKHGXOLQJRUGHULQFusion Elite ZDVHQWHUHGDQGWZRPRQWKVDIWHUWKHVFKHGXOLQJRUGHULQJones

  ZDVHQWHUHG $VDUHVXOW0U6DYHULZLOOEHIRFXVHGRQWKHCapacitors WULDODQGZLOOQRWEHDEOHWR

  GHYRWHDVPXFKWLPHWRGHSRVLWLRQVLQWKHLQVWDQWFDVHDVSUHYLRXVO\KRSHG
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              'HSRVLWLRQVDUHQRZEHLQJQRWLFHGDQGWKH¿UVWGHSRVLWLRQVDUHWDNLQJSODFH

  ZLWKRXWDIXOOVHWRIGRFXPHQWVLQKDQGLQ Jones)RU%DLQDQG&KDUOHVEDQNZKHUHHVVHQWLDOO\QR

  FXVWRGLDORUVXEVWDQWLYHGRFXPHQWVKDYH\HWEHHQSURGXFHG, DQGZKHUHWKRVHDHIHQGDQWVDUH

  WDNLQJWKHSRVLWLRQWKDWWKH\ZLOOQRWHYHQHQJDJHLQGLVFXVVLRQSULRUWRUXOLQJVRQPRWLRQVWR

  GLVPLVVGHSRVLWLRQVFDQQRWHYHQEHQRWLFHG9DUVLW\¶VSURGXFWLRQRIGDWDUHODWHGWRFDPSVDQG

  VFKRROV KDVEHHQDJUHHGEXWKDVQRW\HWRFFXUUHGJones 3ODLQWL൵VVHHNVX൶FLHQWWLPHWRUHFHLYH

  DQGDQDO\]HGRFXPHQWVDQGGDWDSULRUWRGHSRVLWLRQVDQGWREHDEOHWRZRUNZLWKWKDWHYLGHQFHWR

  VXSSRUWWKHLUEXUGHQVRISURRIDQGWRDOORZHQRXJKWLPHIRUH[SHUWVWRZRUNZLWKGDWDDQG

  HYLGHQFHWRSUHSDUHWKHLUUHSRUWV



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